               Case 1:23-cv-01145-LGS Document 20 Filed 05/16/23 Page 1 of 2




                                           THE CITY OF NEW YORK                                INNA SHAPOVALOVA

HON. SYLVIA O. HINDS-RADIX                LAW DEPARTMENT                                                   Senior Counsel
                                                                                                   Phone: (212) 356-2656
Corporation Counsel                              100 CHURCH STREET                                    Fax: (212) 356-3509
                                                 NEW YORK, NY 10007                         Email: inshapov@law.nyc.gov


    May 15, 2023                   Application DENIED. The Court does not generally adjourn initial pretrial
                                   conferences until after the deadline to answer, move or otherwise
                                   respond to the Complaint. The parties shall file the joint letter and
     BY ECF
                                   proposed case management plan by May 24, 2023. If Defendants are
     Honorable Lorna G. Schofield
                                   not able to contact Plaintiff to prepare the joint material, they shall
     United States District Judge
                                   prepare and file the required materials on their own behalf. So Ordered.
     United States District Court
     Southern District of New York
     40 Foley Square               Dated: May 16, 2023
     New York, New York 10007             New York, New York

                     Re: DeQuan Reyes v. City of New York, et al.
                        23 Civ. 01145 (LGS)

     Your Honor:


                     I am a Senior Counsel in the Office of the Hon. Sylvia O. Hinds-Radix, Corporation
     Counsel of the City of New York, and the attorney for defendant the City of New York (“City”)
     in the above-referenced matter. 1 I write to respectfully request: (1) an adjournment of the initial
     pretrial conference currently scheduled for May 31, 2023 at 4:10 p.m to a date and time convenient
     for the Court after July 3, 2023; and (2) a corresponding extension of time for the parties to submit
     a proposed case management plan and joint letter. This is defendant City’s first request of this
     kind. The undersigned was unable to contact plaintiff for his consent due to his current
     incarceration status.

                     By way of background, plaintiff brings this action, pursuant to 42 U.S.C. § 1983,
     alleging, inter alia, retaliation, negligence, and deliberate indifference to medical care arising from
     the incidents on or about May 18, 2021 until on or about January 23, 2023. See ECF No. 2. On
     April 4, 2023, the Court issued an Order of Service and ordered that, inter alia, defendant City of
     New York waive service of summons by May 4, 2023. See ECF No 8. On April 17, 2023, the
     Court scheduled an initial pretrial conference to be held in this matter on May 31, 2023 at 4:10

     1
       This case has been assigned to Assistant Corporation Counsel Esther Kim, who is awaiting
     admission to the New York Bar. Ms. Kim is handling this matter under my supervision and may
     be reached at (212) 356-2340 or eunkim@law.nyc.gov.
         Case 1:23-cv-01145-LGS Document 20 Filed 05/16/23 Page 2 of 2




p.m., and ordered the parties to “confer and jointly file a proposed case management plan and
letter.” See ECF No. 11. In accordance with the Court’s April 4th Order, defendant City filed a
waiver of service on May 4, 2023 and accordingly, its deadline to answer or otherwise respond to
the Complaint is July 3, 2023. See ECF No. 17. On May 12, 2023, the parties were scheduled to
meet and confer pursuant to the Court’s April 17th Order, however, upon calling the George R.
Vierno Center (“GRVC”) facility at the arranged date and time, the undersigned was informed that
plaintiff was in attendance at another court appearance. This Office then contacted the DOC liaison
to reschedule the telephone call with plaintiff.

                Accordingly, defendant City respectfully requests: (1) an adjournment of the initial
pretrial conference currently scheduled for May 31, 2023 at 4:10 p.m to a date and time convenient
for the Court after July 3, 2023, which is the current deadline for defendant City to respond to the
Complaint; and (2) a corresponding extension of time for the parties to submit a proposed case
management plan and joint letter.

               Thank you for your consideration herein.


                                                             Respectfully submitted,

                                                             Inna Shapovalova
                                                             Inna Shapovalova
                                                             Senior Counsel
                                                             Special Federal Litigation Division

cc:    BY FIRST-CLASS MAIL
       DeQuan Reyes
       Plaintiff pro se
       4411-804-847
       Rikers Island: G.R.V.C.
       09-09 Hazen Street
       East Elmhurst, NY 11370




                                                 2
